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          America’s Best Value Inn- Tucker (formerly known as the Super 8)

                       1600 Crescent Centre Blvd, Tucker, GA




                                       2010




                                                                                    Plaintiff D.H. 02361
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                                2011




                                2012




                                                                       Plaintiff D.H. 02362
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    •         Chicago Traveler wrote a review Sep 2012                                                                •••

              9 Rogers. Arkansas • 7 contributions • 5 helpful votes


     •0000
     Negative Numbers are Needed
     "This place was a dive. Worst than a Friday Night Special. Really Truly, the worst place ever. First the
     photo is misleading. This is a balcony style Motel, not in a lobby entrance motel. (No interior corridors).
     The picture or advertising does not reflect that.
     We arrived at the hotel at 3am. The room door was barely hanging by the hinges. The lock set was so
     loose from multiple beatings that the bottom third of the door could be pushed in.
     The room smelled. carpet worn, and toilet room tiny & dingy, and the place wreaked of despair. The little
     time that we were in the room. I could have slept in my car. This place is a poor excuse for a business.
     Visit: 07/27/12
     Location: Adjacent to an Urban multi-lane expressway; which was extremely loud.
     Duration: Originally two days. During my 9:00 am job interview. My wife found us a better hotel.
     Check in Process: After 10 pm, the doors are closed, and you stand outside conducting business via a
     glass window, and a slide box. :- ("
     Read less

     Date of stay: July 2012
     Trip type: Traveled
     Room Tip: Despite what the picture portrays ask lots of questions and check google earth to see an arial of...
     See more room tips
           Value                                                           •OOOO Rooms
     •OOOO Location                                                        •OOOO Cleanliness
     •OOOO Service                                                         •OOOO Sleep Quality

     This review is the subjective opinion of a Tripadvisor member and not of TripAdvisor LLC.




3/5 Okay
Grace, St Louis, MO. USA
 3- 7. _C,jG

    Disliked: Property conditions & facilities

It's ok
If you only need a place to sleep and shower for couple days, this place is ok. Don't expect anything to
be fancy though. The pillows are flat, though the bed itself wasn't too bad. The neighborhood isn't too
bad but if you are a female, I wouldn't recommend you use this place atone. Overall, this place is what
you would expect from a cheap motel. Clean enough, but still wish it was cleaner, a little dark inside of
the room, and building itself looking a little shady.
See less


Ilk 0




                                                                                                                            Plaintiff D.H. 02363
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                                2013




                                                                       Plaintiff D.H. 02364
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                                2014




                                                                       Plaintiff D.H. 02365
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      3/5 Okay
      Verified traveler
      Jun 25, 2014
      © Disliked: Cleanliness, property conditions & facilities. room comfort

      It was ok for price paid.
      It was ok for low price. Convenient location but questionable activity with guest on floor below us. Lots
      of traffic in & out so we were nervous but got our sleep & left early. Staff was courteous.

      lir 0


  2/5 Poor
  easy going guy
  Aug 4, 2014
  C) Disked! Clea nliness: staff & service, property conditions & facilities, room comfort

  Not recommended
  My expperience was bad it smell bad the bed sheet were nasty the shower towel smelled bad the
  service was terrible i won reco mended to anyone specially if you bring your kids.

  dr 0




                                                                                                                  Plaintiff D.H. 02366
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                                                                       Plaintiff D.H. 02367
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                                2015




                                                                       Plaintiff D.H. 02368
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                                2016




                                                                       Plaintiff D.H. 02369
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                                                                        Plaintiff D.H. 02370
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                                 2017




                                                                        Plaintiff D.H. 02371
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                                                                        Plaintiff D.H. 02372
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                                 2018




                                                                        Plaintiff D.H. 02373
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                                 2019




                                 2020




                                                                        Plaintiff D.H. 02374
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                                 2021




                                                                        Plaintiff D.H. 02375
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                                                                        Plaintiff D.H. 02376
